        Case 3:19-cv-00191-KRG Document 119 Filed 10/28/21 Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 REVZIP, LLC, and POWER HOUSE                :
 SUBS CORPORATE, LLC,                        :     Case No. 3:19-cv-0191-KRG
                                             :
                     Plaintiffs,             :     Judge Kim R. Gibson
       v.                                    :
                                             :
 Michael McDonnell d/b/a Subpreme            :
 Fundraising and Catering, Christopher       :
 McDonnell, Jacob Bearer, Dana Bearer,       :
 Supreme Fundraising and Catering,           :
 LLC, a Pennsylvania limited liability       :
 company, Power House Enterprises,           :
 LLC, a Pennsylvania limited liability       :
 company, Power House II, LLC, a             :
 Pennsylvania limited liability company,     :
 Power House Catering, LLC, a                :
 Pennsylvania limited liability company,     :
 and John Wesley Cook.                       :
                                             :
                     Defendants.             :
                                             :
                                             :
                                             :

                     MOTION TO WITHDRAW APPEARANCE

    In accordance with Local Rule 83.2.C.4, the undersigned, Ethan V. Wilt, hereby

moves to withdraw his appearance on behalf of Defendants Michael McDonnell d/b/a

Subpreme Fundraising and Catering, Christopher McDonnell, Jacob Bearer, Dana

Bearer, and Supreme Fundraising and Catering, LLC (collectively, “Defendants”) in the

above-captioned matter. In support of said Motion, it is averred as follows:

    1. This action was commenced by Plaintiffs’ Complaint, originally filed in this

Court on November 6, 2019 (ECF No. 1).
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    2. On December 3, 2019, the undersigned attorney, Ethan V. Wilt, of McQuaide

Blasko, Inc., entered his appearance as co-counsel on behalf of Defendants. (ECF No. 23).

    3. Lead counsel for Defendants in this matter is Philip K. Miles, III, of the

McQuaide Blasko law firm. Attorney Miles entered his appearance for Defendants on

November 21, 2019. (ECF No. 15). Therefore, no substitute appearance of counsel for

Defendants is necessary.

    4. The undersigned attorney, Ethan V. Wilt, has accepted a position with the

Huntingdon County District Attorney’s Office, and will begin employment with the

District Attorney’s Office on November 1, 2021.

    5. The undersigned hereby requests that his entry of appearance in this matter be

withdrawn.

    WHEREFORE, pursuant to Local Rule 83.2.C.4, Ethan V. Wilt respectfully requests

that this Court enter an Order granting his Motion to Withdraw Appearance on behalf

of Defendants.

                                          McQUAIDE BLASKO, INC.

Dated: October 28, 2021                   By: /s/Ethan V. Wilt
                                               Ethan V. Wilt, Esquire
                                               Pa. Supreme Court I.D. #325661
                                               evwilt@mqblaw.com
                                               Philip K. Miles III, Esquire
                                               Pa. Supreme Court I.D. #209425
                                               pkmiles@mqblaw.com
                                               811 University Drive
                                               State College, PA 16801
                                               (814) 235-2222
                                               Attorneys for Defendants
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 Power House Catering, LLC, a               :
 Pennsylvania limited liability company,    :
 and John Wesley Cook.                      :
                                            :
                     Defendants.            :
                                            :
                                            :
                                            :

                                   CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of my Motion to Withdraw
Appearance on behalf of Defendants in the above-captioned matter was served via ECF
and/or US Mail on this 28th day of October, 2021, to the following attorney/parties of
record:

       Briar Siljander, Esquire                  Power House II, LLC
       Trio Law PLC                              Power House Catering, LLC
       376 Beach Farm Cir. #1269                 210 East Plank Road, Suite 15
       Highland, MI 48356                        Altoona, PA 16602
       (248) 529-6730
       Email: briar@triolawplc.com
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                               By: /s/Ethan V. Wilt
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                                Attorneys for Defendants
